         Case:14-07279-MCF13   Doc#:20 13Filed:12/19/14
                      STANDING CHAPTER                   Entered:12/19/14
                                          TRUSTEE ALEJANDRO                11:41:18
                                                               OLIVERAS RIVERA                                     Desc: Main
                                       Document
                                    REPORT          Page
                                             OF ACTION    1 of 4
                                                        TAKEN
                                                      MEETING OF CREDITORS
In re:
                                                                                                                            16,757
DIANA FALCON DIAZ                                                       Case No.   14-07279-MCF
                                                        Chapter 13      Attorney Name:     MIGUEL ANGEL SERRANO URDAZ*

I. Appearances
                                                                           Date & Time:          12/18/2014 1:15:00PM
Debtor                      [ ]Present             [X] Absent
                                                                           []R          [X] NR     LV:
Joint Debtor                [ ]Present             [ ] Absent
                                                                           [X] This is debtor(s) 2 Bankruptcy filing.
Attorney for Debtor        [X] Present             [ ] Absent
                                                                           Creditors:
[ ] Prose
                                                                           none
[ ] Appearing:



II. Oath Administered
            [ ] Yes                   [X] No




III. Plan

Date:       09/02/2014          Base:          $54,000.00   Payments 0 made out of due.

Confirmation Hearing Date:            2/5/2015 9:00:00AM

Evidence of Pmt shown:




Attorney’s fees as per R. 2016(b)

      $3,000.00     - $150.00       = $2,850.00

IV. Status of Meeting

[ ] Closed          [X] Not Held         [ ] Held/Continued

[ ] Held/Not Closed


[ ] Continued

Continued Date:

Comments:


[X] M.T.D. to be filed by Trustee: Debtor(s) failed to: [X] Appear: [X] Commence payments

 [ ] Keep payments current [ ] does (do) not qualify as a debtor (§109):

 [ ] MTD Already filed, see Docket:

 [ ] Other:
         Case:14-07279-MCF13   Doc#:20 13Filed:12/19/14
                      STANDING CHAPTER                   Entered:12/19/14
                                          TRUSTEE ALEJANDRO                11:41:18
                                                               OLIVERAS RIVERA                                   Desc: Main
                                       Document
                                    REPORT          Page
                                             OF ACTION    2 of 4
                                                        TAKEN
                                                MEETING OF CREDITORS
In re:
                                                                                                                            16,757
DIANA FALCON DIAZ                                                  Case No.    14-07279-MCF
                                                  Chapter 13       Attorney Name:      MIGUEL ANGEL SERRANO URDAZ*


                                                                                                             16,757   (Cont.)
                                         Trustee’s Report on Confirmation

                                                 [ ] FAVORABLE

                                                 [ ] UNFAVORABLE

[ ] Feasibility                                                    [ ] No provision for secured creditor(s)
[ ] Insufficiently funded
                                                                   [ ] Tax returns missing
[ ] Unfair discrimination
                                                                       [ ] State - years
[ ] Fails disposable income

[ ] Fails liquidation value test
                                                                      [ ] Federal - years
[ ] Insuarence quote


Pending/Items/ Documents:

[ ] DSO Recipient's Information                                               [ ] Monthly reports for the months



[ ] Evidence of being current with DSO                                      [ ] Public Liability Insurance

                                                                              [ ] Premises

[ ] Evidence of income                                                        [ ] Vehicle(s):

                                                                            [ ] Licenses issued by:
         Case:14-07279-MCF13   Doc#:20 13Filed:12/19/14
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                                          TRUSTEE ALEJANDRO                11:41:18
                                                               OLIVERAS RIVERA                                   Desc: Main
                                       Document
                                    REPORT          Page
                                             OF ACTION    3 of 4
                                                        TAKEN
                                                   MEETING OF CREDITORS
In re:
                                                                                                                          16,757
DIANA FALCON DIAZ                                                      Case No.   14-07279-MCF
                                                     Chapter 13        Attorney Name:    MIGUEL ANGEL SERRANO URDAZ*

                                                   Trustee's objection to confirmation

                                                     [ ] Objection to Confirmation
                                                     [ ] Oral objection by creditor

Counsel is present and informs that debtor could not be present since she is sick. He requested a continuance,

however, I informed that debtor is in arrears (2 months) with her chapter 13 plan, thus, the meeting cannot be

continued.



Trustee will file motion to dismiss.



The presiding notes the following in case case does not get dismissed:



Debtor needs to clarify why SOFA line 4 disclose a cause of action by Scotiabank against Mr. Ruben Claudio

Lozada.



Debtor has or had a dba Hogar Maria Santisima clarify. I f this is her business debtor need to provide all

documentation related to the business. (IVU,Patente,

Bomberos), if she still operating this business.



Need evidence of income if debtor operates a business.



Debtor needs to clarify whether income disclosed at Schedule I is from business operation or rent



SOFA 1 does not disclose business income, also, line 18 does not disclose business information. ( if debtor

operates a business)




Note: Previous case 11-00244 was dismissed since debtor was unable to make current post petition mortgage

payment to Scotiabank.



Plan is insufficiently funded to pay secured and priority creditors.



SCMI was filed without any income.



Debtor needs to clarify why she assumed a lease from her own dba.
           Case:14-07279-MCF13   Doc#:20 13Filed:12/19/14
                        STANDING CHAPTER                   Entered:12/19/14
                                            TRUSTEE ALEJANDRO                11:41:18
                                                                 OLIVERAS RIVERA                                 Desc: Main
                                         Document
                                      REPORT          Page
                                               OF ACTION    4 of 4
                                                          TAKEN
                                                   MEETING OF CREDITORS
 In re:
                                                                                                                                  16,757
 DIANA FALCON DIAZ                                                   Case No.    14-07279-MCF
                                                    Chapter 13       Attorney Name:      MIGUEL ANGEL SERRANO URDAZ*

Debtor is using d11A for cause of action against Costco( for injury) Trustee to object since it does not apply. This

section is for "an award under a crime victim's reparation law".



As per lease contract provided, debtor is leasing her property and/or business "Hogar de Ancianos" to her

daughter with a monthly income of $3,000. This contract is not signed by either party. Schedule "I" lists $2,200. To

clarify.



Schedule "G" does not list any existing contract. Plan provides for the assumption of a lease "Hogar Maria

Santisima". Debtor needs to clarify if business was transferred to her daughter. There is no information in Sofa,

item #18. Schedule "I" discloses debtor as currently unemployed; receiving social security benefits and "other"

income that appears to be rent. This income from rent has not been disclosed in SOFA, item #2.



Cause of action against Costco needs to be disclosed in SOFA, item #4.



Debtor needs to include income from rent and/or business in SCMI. If debtor is currently receiving $3,000 from

rent, this may change her ACP from 3 yrs. to 5 yrs. and it might have an impact in line 59.

The following party(ies) object(s) confirmation:




          s/Pedro R Medina                                                                        Date:      12/18/2014

          Trustee/Presiding Officer                                                                                    (Rev. 05/13)
